             UNITED STATES COURT OF APPEALS FOR THE EIGHTH CIRCUIT
                           APPEARANCE OF COUNSEL

            US ex rel. Holt                    Medicare Medicaid Advisors, Inc. et al.
Case Title: _______________________________ vs._________________________________

                                                            23-2564
The Clerk will enter my appearance as Counsel in Appeal No. _______________for the
following party(s): (please specify)

Humana Inc.




   Appellant(s)     Petitioner(s) ✔ Appellee(s)        Respondent(s)      Amicus Curiae         Intervenor(s)



Please compare your information below with your information on PACER. Any updates
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                                          CERTIFICATE OF SERVICE
                              7/7/23
 ✔ hereby certify that on ____________, I electronically filed the foregoing with the Clerk of the Court for the
_____I
United States Court of Appeals for the Eighth Circuit by using the CM/ECF system.

_____I further certify that some of the participants in the case are not CM/ECF users. I have mailed the foregoing
document by First-Class Mail, postage prepaid, or have dispatched it to a third-party commercial carrier for delivery
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